             Case 2:18-cv-07454-ILRL-DEK Document 5 Filed 08/12/18 Page 1 of 16

AO 241 (Rev. 09/17)




                                Petition for Relief From a Conviction or Sentence
                                           By a Person in State Custody
                               (Petition Under 28 U.S.C. § 2254 for a Writ of Habeas Corpus)


                                                           Instructions

1.        To use this form, you must be a person who is currently serving a sentence under a judgment against you in a state
          court. You are asking for relief from the conviction or the sentence. This form is your petition for relief.

2.        You may also use this form to challenge a state judgment that imposed a sentence to be served in the future, but
          you must fill in the name of the state where the judgment was entered. If you want to challenge a federal judgment
          that imposed a sentence to be served in the future, you should file a motion under 28 U.S.C. § 2255 in the federal
          court that entered the judgment.

3.        Make sure the form is typed or neatly written.

4.        You must tell the truth and sign the form. If you make a false statement of a material fact, you may be
          prosecuted for perjury.

5.        Answer all the questions. You do not need to cite law. You may submit additional pages if necessary. If you do
          not fill out the form properly, you will be asked to submit additional or correct information. If you want to submit
          any legal arguments, you must submit them in a separate memorandum. Be aware that any such memorandum may
          be subject to page limits set forth in the local rules of the court where you file this petition.

6.        You must pay a fee of $5. If the fee is paid, your petition will be filed. If you cannot pay the fee, you may ask to
          proceed in forma pauperis (as a poor person). To do that, you must fill out the last page of this form. Also, you
          must submit a certificate signed by an officer at the institution where you are confined showing the amount of
          money that the institution is holding for you. If your account exceeds $                 , you must pay the filing fee.

7.        In this petition, you may challenge the judgment entered by only one court. If you want to challenge a judgment
          entered by a different court (either in the same state or in different states), you must file a separate petition.

8.        When you have completed the form, send the original and              copies to the Clerk of the United States District
          Court at this address:
                                                 Clerk,
                                             Clerk,      United
                                                    United StatesStates District
                                                                  District        Court for
                                                                           Court for
                                                                  Address
                                                            Address
                                                     City,City,
                                                           State State  Zip Code
                                                                 Zip Code

          If you want a file-stamped copy of the petition, you must enclose an additional copy of the petition and ask the court
          to file-stamp it and return it to you.

9.        CAUTION: You must include in this petition all the grounds for relief from the conviction or sentence that
          you challenge. And you must state the facts that support each ground. If you fail to set forth all the grounds
          in this petition, you may be barred from presenting additional grounds at a later date.

10.       CAPITAL CASES: If you are under a sentence of death, you are entitled to the assistance of counsel and
          should request the appointment of counsel.




                                                                                                                         Page 1 of 16
              Case 2:18-cv-07454-ILRL-DEK Document 5 Filed 08/12/18 Page 2 of 16

 AO 241 (Rev. 09/17)

                                      PETITION UNDER 28 U.S.C. § 2254 FOR WRIT OF
                                    HABEAS CORPUS BY A PERSON IN STATE CUSTODY

 United States District Court                                              District:Eastern District of Louisiana

 Name (under which you were convicted):                                                                       Docket or Case No.:
REGINALD H. JONES                                                                                          530889

 Place of Confinement :                                                                    Prisoner No.:
Winn Correctional Center, 180 CCA Blvd., Atlanta, LA 71482                               399320

 Petitioner (include the name under which you were convicted)              Respondent (authorized person having custody of petitioner)
                    REGINALD H. JONES                                 v.               KEITH DEVILLE, WARDEN (WINN)
                                                                                           (STATE OF LOUISIANA)

 The Attorney General of the State of: Louisiana



                                                                   PETITION



 1.        (a) Name and location of court that entered the judgment of conviction you are challenging:

          Orleans Parish Criminal District Court, Section D
          2700 Tulane Avenue

          New Orleans, LA 70119

           (b) Criminal docket or case number (if you know):           530889

 2.        (a) Date of the judgment of conviction (if you know): 4/2/18

           (b) Date of sentencing:        5/2/18

 3.        Length of sentence: 10 years (Multibill Hearing Held 8/2/18 Increased It To 20 Years, No Parole)

 4.        In this case, were you convicted on more than one count or of more than one crime?                 u    Yes         u No

 5.        Identify all crimes of which you were convicted and sentenced in this case:
          [1] Aggravated Assault With A Firearm

          [2] Possession of a Firearm or Concealed Weapon by a Felon

          [3] Obstruction of Justice




 6.        (a) What was your plea? (Check one)

                                      u (1)           Not guilty           u     (3)       Nolo contendere (no contest)

                                      u (2)           Guilty               u     (4)       Insanity plea

                                                                                                                                    Page 2 of 16
             Case 2:18-cv-07454-ILRL-DEK Document 5 Filed 08/12/18 Page 3 of 16

AO 241 (Rev. 09/17)

          (b) If you entered a guilty plea to one count or charge and a not guilty plea to another count or charge, what did

          you plead guilty to and what did you plead not guilty to? N/A




          (c) If you went to trial, what kind of trial did you have? (Check one)

                        u Jury       u Judge only

7.        Did you testify at a pretrial hearing, trial, or a post-trial hearing?

                        u Yes        u No

8.        Did you appeal from the judgment of conviction?

                        u Yes        u No

9.        If you did appeal, answer the following:

          (a) Name of court:        Criminal Court Judge Must Sign Motion to Appeal Before Proceeding & He Has Not.
          (b) Docket or case number (if you know):         N/A
          (c) Result:               Waiting In Prison For Signed Order of Appeal
          (d) Date of result (if you know): N/A

          (e) Citation to the case (if you know):          N/A
          (f) Grounds raised: Defendant intends to bring to the Court's Attention the undeniable fact that NO FIREARM

         was ever proven beyond a reasonable doubt but a Guilty Verdict was handed down nonetheless, causing

         imprisonment, in violation of the 14th Amendment requirement that all facts necessary to constitute

         the crime with which the Defendant has been charged be proven beyond a reasonable doubt.

         The ATTACHED [1] Verdict Sheets, [2] Post-Verdict Motion for Judgment of Acquittal, & [3] Suspensive

         Appeal provide the factual background outlining how the defendant's use of a toy, believed by the

         alleged victim in a sworn (and notarized) affidavit prevented the required proof of a firearm.
          (g) Did you seek further review by a higher state court?            u Yes    u   No

                      If yes, answer the following:

                      (1) Name of court:    N/A (Trial Judge has not signed Appeal Order, stopping appellate process.)
                      (2) Docket or case number (if you know):              N/A
                      (3) Result:           N/A




                                                                                                                       Page 3 of 16
                Case 2:18-cv-07454-ILRL-DEK Document 5 Filed 08/12/18 Page 4 of 16

AO 241 (Rev. 09/17)

                      (4) Date of result (if you know):     N/A
                      (5) Citation to the case (if you know):     N/A

                      (6) Grounds raised:             N/A




          (h) Did you file a petition for certiorari in the United States Supreme Court?           u    Yes       u No

                      If yes, answer the following:

                      (1) Docket or case number (if you know):    N/A

                      (2) Result:      N/A


                      (3) Date of result (if you know):     N/A
                      (4) Citation to the case (if you know):     N/A
10.       Other than the direct appeals listed above, have you previously filed any other petitions, applications, or motions

          concerning this judgment of conviction in any state court?                u Yes          u    No

11.       If your answer to Question 10 was "Yes," give the following information:

          (a)         (1) Name of court:

                      (2) Docket or case number (if you know):

                      (3) Date of filing (if you know):

                      (4) Nature of the proceeding:

                      (5) Grounds raised:




                      (6) Did you receive a hearing where evidence was given on your petition, application, or motion?

                        u Yes        u No

                      (7) Result:   N/A



                                                                                                                         Page 4 of 16
             Case 2:18-cv-07454-ILRL-DEK Document 5 Filed 08/12/18 Page 5 of 16
AO 241 (Rev. 09/17)

                      (8) Date of result (if you know):

          (b) If you filed any second petition, application, or motion, give the same information:

                      (1) Name of court:    N/A
                      (2) Docket or case number (if you know):

                      (3) Date of filing (if you know):

                      (4) Nature of the proceeding:

                      (5) Grounds raised:




                      (6) Did you receive a hearing where evidence was given on your petition, application, or motion?

                        u Yes        u No

                      (7) Result:

                      (8) Date of result (if you know):

          (c) If you filed any third petition, application, or motion, give the same information:

                      (1) Name of court:    N/A

                      (2) Docket or case number (if you know):

                      (3) Date of filing (if you know):

                      (4) Nature of the proceeding:

                      (5) Grounds raised:




                                                                                                                         Page 5 of 16
              Case 2:18-cv-07454-ILRL-DEK Document 5 Filed 08/12/18 Page 6 of 16
 AO 241 (Rev. 09/17)

                       (6) Did you receive a hearing where evidence was given on your petition, application, or motion?

                         u Yes        u No

                       (7) Result:   N/A
                       (8) Date of result (if you know):

           (d) Did you appeal to the highest state court having jurisdiction over the action taken on your petition, application,

           or motion?

                       (1) First petition:     u Yes        u    No

                       (2) Second petition:    u Yes        u    No

                       (3) Third petition:     u Yes        u    No

           (e) If you did not appeal to the highest state court having jurisdiction, explain why you did not:




 12.       For this petition, state every ground on which you claim that you are being held in violation of the Constitution,
           laws, or treaties of the United States. Attach additional pages if you have more than four grounds. State the facts
           supporting each ground. Any legal arguments must be submitted in a separate memorandum.

           CAUTION: To proceed in the federal court, you must ordinarily first exhaust (use up) your available
           state-court remedies on each ground on which you request action by the federal court. Also, if you fail to set
           forth all the grounds in this petition, you may be barred from presenting additional grounds at a later date.

 GROUND ONE: Violation of the 14th Amendment to the United States Constitution



 (a) Supporting facts (Do not argue or cite law. Just state the specific facts that support your claim.):

No firearm was ever proven beyond a reasonable doubt. The alleged victim first acknowledged NOT knowing

what defendant had in his hand (ATTACHED "LJ TRANSCRIPT", page 32) and then that he believed it was a toy

(ATTACHED AFFIDAVIT). The police did not even look for the toy where defendnat informed them he discarded it.

While the Prosecution questioned the alleged victim to get a counter to his Affidavit (TRANSCRIPT, page 22), the

contradiction only revealed uncertainty, i.e., not proof beyond a reasonable doubt. [iii] The Prosecution did

not call an Expert to examine the unclear home Video and verify that the uncertain image WAS a firearm.
 (b) If you did not exhaust your state remedies on Ground One, explain why: The Defendant has been in prison since his

sentencing on May 2, 2018. His attorneys: [i] Filed a Motion for Post-Verdict Judgment of Acquittal; it was denied.

[ii] Filed a Motion of Appeal; it was not signed by the Judge (as required in Louisiana) since the Prosecution sought

to Multibill Defendant to add to his sentence. [iii] Filed a Suspensive Appeal on June 8, 2018 to seek an

immediate appeal and stop the injustice from the jury verdict; it was denied. [iv] Filed a Motion for an

Appeal Bond; it was denied. [v] Requested that the Judge sign an Order of Appeal so Defendant could proceed

on appeal to the Fourth Circuit Court of Appeal, State of LA; Judge responded he might "get to it" this year!



                                                                                                                          Page 6 of 16
             Case 2:18-cv-07454-ILRL-DEK Document 5 Filed 08/12/18 Page 7 of 16
AO 241 (Rev. 09/17)

(c)       Direct Appeal of Ground One:

          (1) If you appealed from the judgment of conviction, did you raise this issue?            u    Yes        u No

          (2) If you did not raise this issue in your direct appeal, explain why: N/A (Judge has not signed the Order of

         Appeal. The Multibill Hearing occurred on 8/2/18. The Judge revoked Defendant's 10 years sentence

         and sentenced him to 20 years for each of the crimes. He still did not sign the prepared Appeal Order!
(d) Post-Conviction Proceedings:

          (1) Did you raise this issue through a post-conviction motion or petition for habeas corpus in a state trial court?

                      u Yes       u No

          (2) If your answer to Question (d)(1) is "Yes," state:

          Type of motion or petition:     Defendant's Motion for Post-Verdict Judgment of Acquittal
          Name and location of the court where the motion or petition was filed: Orleans Parish Criminal District Court



          Docket or case number (if you know): 530-889

          Date of the court's decision:   4/25/18
          Result (attach a copy of the court's opinion or order, if available):




          (3) Did you receive a hearing on your motion or petition?                                 u    Yes        u No

          (4) Did you appeal from the denial of your motion or petition?                            u    Yes        u No

          (5) If your answer to Question (d)(4) is "Yes," did you raise this issue in the appeal?   u    Yes        u No

          (6) If your answer to Question (d)(4) is "Yes," state:

          Name and location of the court where the appeal was filed: N/A (Judge refuses to sign Order of Appeal.

         Defendant's hearings have been postponed repeatedly (at least 5 times), extending his incarceration.
          Docket or case number (if you know):

          Date of the court's decision:

          Result (attach a copy of the court's opinion or order, if available):




          (7) If your answer to Question (d)(4) or Question (d)(5) is "No," explain why you did not raise this issue:

         N/A (Judge has not signed Order of Appeal to proceed despite Louisiana Law's requirement to do so

         within 72 hours [LACCRP, Art. 915]. When hearings were set to conclude all matters so

         Defendant's attorneys could proceed with the appeal, postponements occurred over and over.

         The numerous postponements have been due to transportation, non-appearance, delays, etc.

                                                                                                                         Page 7 of 16
              Case 2:18-cv-07454-ILRL-DEK Document 5 Filed 08/12/18 Page 8 of 16
 AO 241 (Rev. 09/17)

 (e) Other Remedies: Describe any other procedures (such as habeas corpus, administrative remedies, etc.) that you have

 used to exhaust your state remedies on Ground One: None.




 GROUND TWO:                     14th Amendment Violation of Due Process



 (a) Supporting facts (Do not argue or cite law. Just state the specific facts that support your claim.):

Despite the Defendant using his 5th Amendment Right NOT to testify, the Prosecution made repeated reference
to the past crimes of Defendant. Defendant's attorney did not "open and door" for this, and Defendant was

deprived of the opportunity to explain the circumstances of the pleas of Guilty, which when heard

would have shown how non-criminal he was, e.g., [1] his two pleas for possession of drugs related to small
amounts being found in his car after transporting others and [2] his negligent homicide plea related to hitting a man

at night who wandered into the street, in a very dark area of the road, under the influence of drugs, and was

side swiped by Defendant's Large Truck and not recognized by Defendant due to the great darkness and
non-disruption of the truck's movement. Defendant proceeded to his job as a Fireman, not realizing what happened.

 (b) If you did not exhaust your state remedies on Ground Two, explain why: The Judge has not signed the Appeal

Order. Postponement after postponement for reason after reason have resulted in the Defendant sitting

in prison after prison (transported all around Louisiana) when NO Firearm was ever proven beyond

a reasonable doubt to constitute the crimes with which he was charged. Simply put, a toy cannot be a firearm.

 (c)       Direct Appeal of Ground Two:

           (1) If you appealed from the judgment of conviction, did you raise this issue?             u     Yes      u No

           (2) If you did not raise this issue in your direct appeal, explain why: N/A (Judge has not signed Appeal Order.)




 (d)       Post-Conviction Proceedings:

           (1) Did you raise this issue through a post-conviction motion or petition for habeas corpus in a state trial court?

                       u Yes       ✔ No
                                   u

           (2) If your answer to Question (d)(1) is "Yes," state:

           Type of motion or petition:

           Name and location of the court where the motion or petition was filed:




           Docket or case number (if you know):


                                                                                                                          Page 8 of 16
             Case 2:18-cv-07454-ILRL-DEK Document 5 Filed 08/12/18 Page 9 of 16
AO 241 (Rev. 09/17)

          Date of the court's decision:

          Result (attach a copy of the court's opinion or order, if available):




          (3) Did you receive a hearing on your motion or petition?                                  u     Yes    u No

          (4) Did you appeal from the denial of your motion or petition?                             u     Yes    u No

          (5) If your answer to Question (d)(4) is "Yes," did you raise this issue in the appeal?    u     Yes    u No

          (6) If your answer to Question (d)(4) is "Yes," state:

          Name and location of the court where the appeal was filed:



          Docket or case number (if you know):

          Date of the court's decision:

          Result (attach a copy of the court's opinion or order, if available):




          (7) If your answer to Question (d)(4) or Question (d)(5) is "No," explain why you did not raise this issue:




(e)       Other Remedies: Describe any other procedures (such as habeas corpus, administrative remedies, etc.) that you

          have used to exhaust your state remedies on Ground Two :




GROUND THREE:                NONE



(a) Supporting facts (Do not argue or cite law. Just state the specific facts that support your claim.):




                                                                                                                        Page 9 of 16
            Case 2:18-cv-07454-ILRL-DEK Document 5 Filed 08/12/18 Page 10 of 16
AO 241 (Rev. 09/17)

(b) If you did not exhaust your state remedies on Ground Three, explain why:




(c)       Direct Appeal of Ground Three:

          (1) If you appealed from the judgment of conviction, did you raise this issue?            u    Yes        u No

          (2) If you did not raise this issue in your direct appeal, explain why:




(d)       Post-Conviction Proceedings:

          (1) Did you raise this issue through a post-conviction motion or petition for habeas corpus in a state trial court?

                      u Yes       u No

          (2) If your answer to Question (d)(1) is "Yes," state:

          Type of motion or petition:

          Name and location of the court where the motion or petition was filed:



          Docket or case number (if you know):

          Date of the court's decision:

          Result (attach a copy of the court's opinion or order, if available):




          (3) Did you receive a hearing on your motion or petition?                                 u    Yes        u No

          (4) Did you appeal from the denial of your motion or petition?                            u    Yes        u No

          (5) If your answer to Question (d)(4) is "Yes," did you raise this issue in the appeal?   u    Yes        u No

          (6) If your answer to Question (d)(4) is "Yes," state:

          Name and location of the court where the appeal was filed:



          Docket or case number (if you know):

          Date of the court's decision:

          Result (attach a copy of the court's opinion or order, if available):




                                                                                                                        Page 10 of 16
            Case 2:18-cv-07454-ILRL-DEK Document 5 Filed 08/12/18 Page 11 of 16
AO 241 (Rev. 09/17)

          (7) If your answer to Question (d)(4) or Question (d)(5) is "No," explain why you did not raise this issue:




(e)       Other Remedies: Describe any other procedures (such as habeas corpus, administrative remedies, etc.) that you

          have used to exhaust your state remedies on Ground Three:




GROUND FOUR: N/A



(a) Supporting facts (Do not argue or cite law. Just state the specific facts that support your claim.):




(b) If you did not exhaust your state remedies on Ground Four, explain why:




(c)       Direct Appeal of Ground Four:

          (1) If you appealed from the judgment of conviction, did you raise this issue?             u     Yes      u No

          (2) If you did not raise this issue in your direct appeal, explain why:




(d)       Post-Conviction Proceedings:

          (1) Did you raise this issue through a post-conviction motion or petition for habeas corpus in a state trial court?

                      u Yes       u No

          (2) If your answer to Question (d)(1) is "Yes," state:

          Type of motion or petition:


                                                                                                                        Page 11 of 16
            Case 2:18-cv-07454-ILRL-DEK Document 5 Filed 08/12/18 Page 12 of 16
AO 241 (Rev. 09/17)

          Name and location of the court where the motion or petition was filed:



          Docket or case number (if you know):

          Date of the court's decision:

          Result (attach a copy of the court's opinion or order, if available):




          (3) Did you receive a hearing on your motion or petition?                                 u   Yes       u No

          (4) Did you appeal from the denial of your motion or petition?                            u   Yes       u No

          (5) If your answer to Question (d)(4) is "Yes," did you raise this issue in the appeal?   u   Yes       u No

          (6) If your answer to Question (d)(4) is "Yes," state:

          Name and location of the court where the appeal was filed:



          Docket or case number (if you know):

          Date of the court's decision:

          Result (attach a copy of the court's opinion or order, if available):




          (7) If your answer to Question (d)(4) or Question (d)(5) is "No," explain why you did not raise this issue:




(e)       Other Remedies: Describe any other procedures (such as habeas corpus, administrative remedies, etc.) that you

          have used to exhaust your state remedies on Ground Four:




                                                                                                                        Page 12 of 16
            Case 2:18-cv-07454-ILRL-DEK Document 5 Filed 08/12/18 Page 13 of 16
AO 241 (Rev. 09/17)

13.       Please answer these additional questions about the petition you are filing:

          (a)         Have all grounds for relief that you have raised in this petition been presented to the highest state court

                      having jurisdiction?    u Yes          u     No

                      If your answer is "No," state which grounds have not been so presented and give your reason(s) for not

                      presenting them: N/A (Judge has not signed Order of Appeal.)




          (b)         Is there any ground in this petition that has not been presented in some state or federal court? If so, which

                      ground or grounds have not been presented, and state your reasons for not presenting them:




14.       Have you previously filed any type of petition, application, or motion in a federal court regarding the conviction

          that you challenge in this petition?         u     Yes        u No

          If "Yes," state the name and location of the court, the docket or case number, the type of proceeding, the issues

          raised, the date of the court's decision, and the result for each petition, application, or motion filed. Attach a copy

          of any court opinion or order, if available.




15.       Do you have any petition or appeal now pending (filed and not decided yet) in any court, either state or federal, for

          the judgment you are challenging?            u     Yes        u No

          If "Yes," state the name and location of the court, the docket or case number, the type of proceeding, and the issues

          raised.




                                                                                                                           Page 13 of 16
            Case 2:18-cv-07454-ILRL-DEK Document 5 Filed 08/12/18 Page 14 of 16
AO 241 (Rev. 09/17)

16.       Give the name and address, if you know, of each attorney who represented you in the following stages of the

          judgment you are challenging:

          (a) At preliminary hearing: Alex K. Kriksciun, 400 Poydras St., Suite 900 New Orleans, LA 70130



          (b) At arraignment and plea: Alex K. Kriksciun, 400 Poydras St., Suite 900 New Orleans, LA 70130



          (c) At trial:         Alex K. Kriksciun, 400 Poydras St., Suite 900 New Orleans, LA 70130


          (d) At sentencing: Alex K. Kriksciun, 400 Poydras St., Suite 900 New Orleans, LA 70130



          (e) On appeal:       N/A (Judge has not signed Order of Appeal.)


          (f) In any post-conviction proceeding:       Law Offices of Rev. Rickey Nelson Jones, Esquire, 3rd Fl.--Suite 5

          1701 Madison Ave., Baltimore, MD 21217 (Pro Hac Vice Counsel & Co-Counsel)
          (g) On appeal from any ruling against you in a post-conviction proceeding: N/A (Judge has not signed

          Order of Appeal.)



17.       Do you have any future sentence to serve after you complete the sentence for the judgment that you are

          challenging?            u Yes        u       No

          (a) If so, give name and location of court that imposed the other sentence you will serve in the future:




          (b) Give the date the other sentence was imposed:

          (c) Give the length of the other sentence:

          (d) Have you filed, or do you plan to file, any petition that challenges the judgment or sentence to be served in the

          future?                 u Yes        u       No

18.       TIMELINESS OF PETITION: If your judgment of conviction became final over one year ago, you must explain

          why the one-year statute of limitations as contained in 28 U.S.C. § 2244(d) does not bar your petition.*

         N/A




                                                                                                                       Page 14 of 16
               Case 2:18-cv-07454-ILRL-DEK Document 5 Filed 08/12/18 Page 15 of 16
AO 241 (Rev. 09/17)




* The Antiterrorism and Effective Death Penalty Act of 1996 ("AEDPA") as contained in 28 U.S.C. § 2244(d) provides in

part that:

             (1)      A one-year period of limitation shall apply to an application for a writ of habeas corpus by a person in
                      custody pursuant to the judgment of a State court. The limitation period shall run from the latest of -

                      (A)      the date on which the judgment became final by the conclusion of direct review or the expiration
                               of the time for seeking such review;

                      (B)      the date on which the impediment to filing an application created by State action in violation of
                               the Constitution or laws of the United States is removed, if the applicant was prevented from
                               filing by such state action;

                      (C)      the date on which the constitutional right asserted was initially recognized by the Supreme Court,
                               if the right has been newly recognized by the Supreme Court and made retroactively applicable to
                               cases on collateral review; or

                      (D)      the date on which the factual predicate of the claim or claims presented could have been
                               discovered through the exercise of due diligence.




                                                                                                                          Page 15 of 16
             Case 2:18-cv-07454-ILRL-DEK Document 5 Filed 08/12/18 Page 16 of 16
 AO 241 (Rev. 09/17)

           (2)         The time during which a properly filed application for State post-conviction or other collateral review with
                       respect to the pertinent judgment or claim is pending shall not be counted toward any period of limitation
                       under this subsection.

 Therefore, petitioner asks that the Court grant the following relief: Vacate the Jury Verdicts of Guilty & Order the

Defendant to be Released from Prison Immediately. (Defendant is on multiple medications & in a wheelchair.

All attorney requests for medical accommodation have been to no avail.)
 or any other relief to which petitioner may be entitled.




                                                                               /s/ Alex K. Kriksciun
                                                                           Signature of Attorney (if any)




 I declare (or certify, verify, or state) under penalty of perjury that the foregoing is true and correct and that this Petition for

 Writ of Habeas Corpus was placed in the prison mailing system on                       ---              (month, date, year).




 Executed (signed) on                    ---            (date).




                                                                               s/ Alex K. Kriksciun
                                                                               Signature of Petitioner

 If the person signing is not petitioner, state relationship to petitioner and explain why petitioner is not signing this petition.

Law Office of Alex Kriksciun is local counsel for the Defendant. His blood brother is Rickey Nelson Jones.

I am serving as Local Counsel for Mr. Jones in the attached Motion Pro Hac Vice. An identical motion was

successfully filed in the State Court after the Defendant was found Guilty. Rickey Nelson Jones will be principal

counsel for all post-judgment/appellate/Habeas Corpus matters.




                                                                                                                            Page 16 of 16
